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                                                                              2022 Dec-16 AM 11:15
                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                           EASTERN DIVISION

 Melinda Wright,                            )
                                            )
       Plaintiff,                           )
                                            )
       v.                                   )   Case No.: 1:21-cv-00447-NAD
                                            )
 Legacy Cabinets, Inc.,                     )
                                            )
       Defendant.                           )

      ORDER SETTING TRIAL DATE AND PRETRIAL SCHEDULE

      1. This case is SET for trial on MONDAY, May 15, 2023, at 9:00 AM at

the Anniston U.S. Federal Courthouse, 1100 Gurnee Avenue, Anniston, Alabama

36201. This is a “hard” trial-date setting, and not a trial-ready date.

      2.    This case is SET for an initial, telephonic Pretrial Conference on

MONDAY, April 24, 2023, at 10:00 AM. The parties should dial 888-363-4735

and enter access code 6785641 to participate in the call.

      3. This case is SET for a Final Pretrial Conference on THURSDAY, May

11, 2023, at 10:00 AM at the Anniston U.S. Federal Courthouse (see above). By

notifying chambers not less than two business days prior to the scheduled Pretrial

Conference, attorneys located outside the division or district may request to

participate by telephone as long as one attorney for each party attends in person.

Counsel of record are requested to notify any attorneys subsequently appearing in



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this case of the scheduled conference.

        4. The Standard Pretrial Procedures specified in Exhibit A (attached) are

adopted as part of this order.

        5.   The parties are required to follow the court’s Civil Administrative

Procedures Manual (revised May 2021). 1 If evidence introduced at trial includes

personal information, sealed documents, or documents and/or information subject to

a protective order, the parties are directed to comply with sections II.I and IV.C of

the Administrative Procedures Manual. The foregoing also applies to the trial

transcript, which will be public record. If private and/or confidential information is

mentioned in court, compliance with the Administrative Procedures Manual may

require testimony to be stricken or partially redacted.

        6. In addition, the pretrial schedule is as follows 2:

        a. Motions in limine: Motions in limine shall be filed at least twenty-eight

(28) days before the scheduled trial date and shall be accompanied by supporting

memoranda.       Parties are encouraged to resolve evidentiary issues by stipulation

whenever possible. Any opposition briefs shall be filed at least fourteen (14) days

before the scheduled trial date. Parties shall not file more than five (5) motions in


1
 Available at https://www.alnd.uscourts.gov/sites/alnd/files/AL-
N%20Civil%20Administrative%20Procedures%20Manual.Revision.05-18-
2021.pdf.
2
    A chart summarizing the standard pretrial schedule is attached as Exhibit B.


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limine without leave of court. No reply briefs are allowed on motions in limine

without leave of court.

      b. Trial briefs: No trial briefs are required. Any party may file a trial brief at

least twenty-eight (28) days before the scheduled trial date. If a party files a trial

brief, any opposing party may file a responsive trial brief at least fourteen (14) days

before the scheduled trial date. Any trial brief shall be limited to no more than ten

(10) pages in length without leave of court. No reply trial briefs are allowed without

leave of court.

      c. Joint proposed pretrial order: The parties shall submit a joint proposed

pretrial order to chambers in Word format at danella_chambers@alnd.uscourts.gov

at least fourteen (14) days before the scheduled trial date. A sample proposed

pretrial order is attached as Exhibit C for the convenience and use of the parties.

      d. Proposed voir dire (in a jury case): The parties shall jointly submit any

special questions or topics for voir dire examination of the jury venire to chambers

in Word format at danella_chambers@alnd.uscourts.gov at least fourteen (14) days

before the scheduled trial date. Where the parties cannot agree, counsel shall identify

the question as disputed in bold type and indicate which party is requesting the

disputed question. The court’s civil voir dire template may be found on the court’s

website, and counsel need not include the items covered by the court.

      e. Proposed jury charges (in a jury case): The parties shall file a joint



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proposed jury charge, including all necessary instructions and/or definitions

applicable to the specific issues of the case at least fourteen (14) days before the

scheduled trial date. The court’s preliminary and standard instructions may be found

on the court’s website and need not be submitted to the court. Each requested

instruction must be numbered with authority cited. Counsel are to include all

necessary instructions and/or definitions, specifically including the following:

(1) the prima facie elements of each claim for relief and defense asserted; (2) legal

definitions required by the jury; (3) items of damages; and (4) methods of calculation

of damages. Counsel are to use the 11th Circuit Pattern Jury Instructions, or

appropriate state pattern jury instructions, as modified by case law or statutory

amendments, wherever possible.             Any deviations must be identified and

accompanied by legal authority for the proposed deviation. Where the parties cannot

agree, counsel shall identify the item as disputed in bold type and indicate which

party is requesting the disputed language. Accompanying each instruction shall be

all authority or related materials on which each party relies. A copy shall be emailed

in Word format to chambers at danella_chambers@alnd.uscourts.gov.

      f. Proposed verdict forms or interrogatories for submission to the jury (in a

jury case): The parties shall file any requested verdict forms or interrogatories for

submission to the jury at least fourteen (14) days before the scheduled trial date.

Copies     shall   be     emailed     in        Word   format   to    chambers      at



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danella_chambers@alnd.uscourts.gov.

     DONE and ORDERED this December 14, 2022.




                                _________________________________
                                NICHOLAS A. DANELLA
                                UNITED STATES MAGISTRATE JUDGE




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                              EXHIBIT A
                    STANDARD PRETRIAL PROCEDURES

       1. DAMAGES. (a) At least twenty-eight (28) days before the scheduled trial
date, a party claiming damages or seeking relief shall file a list itemizing all damages
and equitable relief being claimed or sought, showing the amount and, where
applicable, the legal basis, and the method and basis of computation. This list shall
include any claim for attorneys’ fees.

      (b) As to any claimed damages or relief, at least fourteen (14) days before
the scheduled trial date, a party may serve and file a list disclosing any legal
objection(s), together with the grounds, that may be made to the claims on such list—
including to any claim for attorneys’ fees.

       2. WITNESSES. (a) Unless specifically agreed by the parties or allowed by
the court for good cause shown, the parties shall be precluded from offering
substantive evidence through any witness, including expert witnesses, not listed on
the party’s witness list, which shall be filed at least thirty-five (35) days before the
scheduled trial date. On receipt of witness lists, the parties shall immediately meet
and confer regarding any objections to the listed witnesses. Most objections should
be cured by discussion. The listing of a witness does not commit the party to have
such witness available at trial or to call such witness to testify but does preclude the
party from objecting to the presentation of such witness’ testimony by another party.
Witness lists may not be amended or supplemented without leave of court.

       (b) The party’s witness list must designate all witnesses for whom the offering
party expects to introduce testimony by means of deposition, and shall include a
listing of the specific lines and pages of the deposition to be offered. As stated
above, on receipt of witness lists, the parties shall immediately meet and confer
regarding any objections to the listed witnesses—including those for whom the
offering party expects to introduce testimony by means of deposition. Most
objections should be cured by discussion. At least fourteen (14) days before the
scheduled trial date, a party must (1) disclose any additional deposition passages to
be offered—i.e., “counter-designations”—and/or (2) disclose any objections to the
opposing party’s use of designated deposition testimony under Rule 32 or Rule
26(a)(3)(B). Any objections to deposition testimony should be accompanied by
excerpts of deposition testimony to which the objection relates. Objections not
disclosed, other than objections under Rules 402 and 403 of the Federal Rules of
Evidence, shall be deemed waived unless excused by the court for good cause.



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      (c) In addition, as to any witness (including expert witnesses), at least
fourteen (14) days before the scheduled trial date, a party may serve and file a list
disclosing any objection, together with the grounds, that may be made to the
opposing party’s calling such witness to testify at trial at all. As stated above, on
receipt of witness lists, the parties shall immediately meet and confer regarding any
objections to the listed witnesses, and most objections should be cured by discussion.
Other objections may be appropriate for motions in limine or for trial.

       3. EXHIBITS. (a) Unless specifically agreed by the parties or allowed by the
court for good cause shown, the parties shall be precluded from offering in evidence
any exhibit not listed on the party’s exhibit list, which shall be filed at least thirty-
five (35) days before the scheduled trial date. On receipt of exhibit lists, the parties
shall immediately meet and confer regarding any objections to the listed exhibits.
Most objections should be cured by discussion, and the parties should stipulate as to
the admissibility of as many exhibits as possible.

        (b) As to any document or other exhibit, including summaries of other
evidence shown on such exhibit list, at least fourteen (14) days before the scheduled
trial date, a party may serve and file a list disclosing any objection, together with the
grounds, that may be made to the admissibility of materials identified on such list.
Objections not so disclosed, other than objections under Rules 402 and 403 of the
Federal Rules of Evidence, shall be deemed waived unless excused by the court for
good cause shown. Except where beyond the party’s control or otherwise
impractical (e.g., records from an independent third party being obtained by
subpoena), each party shall make exhibits on the party’s exhibit list available for
inspection and copying.

       (c) Each party shall “premark” its exhibits before trial using exhibit labels and
exhibit lists available from the Clerk of Court. Each party offering an exhibit shall
also provide the courtroom deputy with a Portable Document Format (“PDF”)
version of every exhibit offered at trial for inclusion in the electronic record.
Before the scheduled trial date, a copy of the exhibit list with the premarked numbers
shall be served and filed, with the exhibits being made available for inspection by
opposing counsel; the presentation of evidence at trial shall not ordinarily be
interrupted for opposing counsel to examine a document that has been so identified
and made available for inspection. In addition to the premarked trial exhibits
mentioned above, the court requests for the bench an exhibit notebook of anticipated
trial exhibits (to the extent possible and practical). The notebook should include a
copy of the exhibit list referenced above.



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                              EXHIBIT B
                     STANDARD PRETRIAL SCHEDULE


              Date                           Documents/Conferences

35 Days Before Trial Date           • Witness lists
                                    • Deposition disclosures/designations
                                    • Exhibit lists

28 Days Before Trial Date           • Motions in limine and accompanying
                                      memoranda
                                    • Trial briefs (if any)
                                    • Damages lists (incl. attorneys’ fees)

21 Days Before Trial Date        Initial, Telephonic Pretrial Conference

14 Days Before Trial Date           •   Opposition briefs on motions in limine
                                    •   Responsive trial briefs (if any)
                                    •   Joint proposed pretrial order
                                    •   Proposed voir dire (jury case)
                                    •   Proposed jury charges (jury case)
                                    •   Proposed verdict forms/interrogatories
                                        (jury case)
                                    •   Objections to damages lists
                                    •   Objections to witness lists
                                    •   Objections to deposition
                                        disclosures/designations
                                    •   Deposition counter-designations
                                    •   Objections to exhibit lists

4 Days Before Trial Date         Final Pretrial Conference

Trial Date                          • Premarked exhibits
                                    • Exhibit notebook




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                                         EXHIBIT C

                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ALABAMA
                             Choose an item. DIVISION

    Plaintiff(s).,                              )
                                                )
            Choose an item.,                    )
                                                )
    v.                                          )   Case No.: Case Number.
                                                )
    Defendant(s).,                              )
                                                )
            Choose an item..                    )

                     [SAMPLE/PROPOSED] PRETRIAL ORDER 1

            A pretrial conference was held in this case on (date). As a result, the

    following proceedings were held and action taken:

         1. APPEARANCES. Appearing at the conference were:

           [Include a line for each party in the case.]

         2. JURISDICTION AND VENUE.

           [List each statute, rule, or case authorizing the court’s subject matter
           jurisdiction in this action. Also state whether personal jurisdiction and/or
           venue are contested. If personal jurisdiction or venue is contested, briefly set
           out the relevant arguments.]




1
   This Sample Proposed Pretrial Order form may be accessed at
www.alnd.uscourts.gov; Judge’s Info, Magistrate Judges, Magistrate Judge
Nicholas A. Danella, Civil Forms, Sample Proposed Pretrial Order.

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3. PARTIES AND TRIAL COUNSEL. The parties before the court and
   designated trial counsel are correctly named as set out below:

  Parties:                                 Trial Counsel:
  [Include a line for each party in the case.]

4. PLEADINGS. The following pleadings have been allowed:

  [List the pleadings in the order in which they were filed and allowed. Do
  not include pleadings that have been stricken or otherwise disallowed.]

5. STATEMENT OF THE CASE.

  a. Agreed Summary: [The agreed summary should be concise (typically no
     more than three or four sentences) and appropriate for the court to use in
     advising the jury during voir dire regarding the basic nature of the case.]

  b. Stipulated Facts: [The parties shall set out in separate numbered
     paragraphs each fact on which the parties agree and on which no proof
     is required. The parties are reminded that the court expects them to
     approach this task in a good faith effort to agree on all relevant facts for
     which there is no reasonable basis for disagreement. In a jury trial, this
     section will be read to the jury, and the jury will be instructed to accept
     these facts as true.]

  c. Contested Issues of Fact: [In separately numbered paragraphs, list all
     factual issues in controversy that are necessary for a final determination
     of the case.]

  d. Agreed Applicable Propositions of Law: [List the basic principles of law
     that the parties agree are essential to a determination of the case—e.g.,
     the elements of plaintiff’s claims and defendant’s defenses. These
     statements of law should be suitable for use by the court in preliminary
     instructions to the jury.]

  e. Plaintiff’s Positions: [Insert brief statement, typically <1 page.]

  f. Defendant’s Positions: [Insert brief statement, typically <1 page.]



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6. DISCOVERY AND OTHER PRETRIAL PROCEDURES.

  a. All discovery was completed by (date), and no further discovery is
     required / / The parties are given leave to proceed with further
     discovery provided it is commenced in time to be completed by
     (date).

  b. Pending Motions: [In separately numbered paragraphs, list all pending
     motions or state that there are no motions pending.]

7. SPECIAL MEDICAL PROVISIONS. [Where applicable.]

  Counsel for all parties are granted the right to inspect and copy all hospital
  and medical reports relative to the medical care, treatment, diagnosis,
  condition, and history of (individual’s name), as well as the right to interview
  (in person or otherwise) all physicians, administrators, and other personnel in
  connection therewith.      Pursuant to HIPAA, a copy of this order shall
  constitute sufficient authority for such inspection, copying, or interview, and
  to authorize medical providers to supply such information and interviews.

8. THIS ORDER INCORPORATES THE REQUIREMENTS AND
   SCHEDULE IN THE COURT’S PRIOR “ORDER SETTING TRIAL
   DATE AND PRETRIAL SCHEDULE,” INCLUDING EXHIBITS A &
   B TO THAT ORDER (DOC. ___, ENTERED ON ___).




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